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                                                                                      Revised: 9/3/2015
                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                     Sherman  DIVISION         By JillVeazey at 3:35 pm, Jan 23, 2020
                            APPLICATION TO APPEAR PRO HAC VICE



   1.This application is being made for the following: Case # 4:19-cv-00249-ALM-KPJ_____________
  Style/Parties: Jenam Tech, LLC v. LG Electronics, Inc, et al_________________________________
  2. Applicant is representing the following party/ies: LG Electronics, Inc, and LG Electronics U.S.A., Inc.
  3.Applicant was admitted to practice in California (state) on 12/14/1992___________ (date).
  4. Applicant is in good standing and is otherwise eligible to practice law before this court.
  5. Applicant is not currently suspended or disbarred in any other court.
  6. ApplicantOhas ©has not had an application for admission to practice before another court denied (please
  circle appropriate language). If so, give complete information on a separate page.
  7. Applicant ©has ©has not ever had the privilege to practice before another court suspended (please circle).
  If so, give complete information on a separate page.
  8. Applicant ©has ©has not been disciplined by a court or Bar Association or committee thereof that would
  reflect unfavorably upon applicant’s conduct, competency or fitness as a member of the Bar (please
  circle). If so, give complete information on a separate page.
  9. Describe in detail on a separate page any charges, arrests or convictions for criminal offense(s) fded
  against you. Omit minor traffic offenses and misdemeanor offenses committed prior to age 18. (See Page 3)
  10. There are no pending grievances or criminal matters pending against the applicant.
  11. Applicant has been admitted to practice in the following courts:
   Northern, Central and Eastern District of CA, Northern District of Texas, U.S. Supreme Court
  12. Applicant has read and will comply with the Local Rules of the Eastern District of Texas, including
  Rule AT-3, the “Standards of Practice to be Observed by Attorneys.”
  13. Applicant understands that he/she is being admitted for the limited purpose of appearing in the case
  specified above only.
  Application Oath:
           I, Brian Ferrall______________________________ ^jo solemnly swear (or affirm) that the
  above information is true; that I will discharge the duties of attorney and counselor of this court faithfully;
  that I will demean myself uprightly under the law and the highest ethics of our profession; and that I will
  support and defend the Constitution of the United States.

  Date   ] jlo 1x9                          Signature                                                 (/s/Sigiiature)




                      Application Continued on Page 2
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                                                 UNITED STATES DISTRICT COURT
                                                   EASTERN DISTRICT OF TEXAS
                                  APPLICATION TO APPEAR PRO HAC VICE (Continued)



                                                   Name (please print) Brian Ferrall
                                                   Bar Number /State 160847/California________
                                                   Firm Name:       Keker, Van Nest & Peters LLP
                                                   Address/P.O. Box: 633 Battery Street
                                                   City/State/Zip: San Francisco, CA 94111-1809
                                                   Telephone#: (415) 391-5400_____________
                                                   Fax#: (415) 397-7188
                                                   E-mail Address: BFerrall@keker.com
                                                   Secondary E-Mail Address:

                                       Hello This is a Test                                        1/23/20
         This application has been approved for the court on:
                                                                                                   2/15/05



                                                                       David A. O'Toole, Clerk
                                                                       U.S. District Court, Eastern District of Texas



                                                                       By.
                                                                       Deputy Clerk




Application Instructions
Complete page 1 and 2 of this Application and Email to phviStxed.uscourts.gov for approval. Once
approved, the clerk will email to you your new Login and    Password so that you will be able to
electronically file your application and pay the $100 fee on    line. If you already have a login and
password, you will still need to wait for approval email    from the clerk before filing your                  Email Application
electronic application.    For Complete Instructions please visit the website
http://WWW.txed.uscourts.gov/
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                This may be used to answer question 9.
9. Describe in detail on a separate page any charges, arrests or convictions
for criminal offense(s) filedagainst you. Omit minor traffic offenses and
misdemeanor offenses committed prior to age 18.
